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 8                                 UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11    PRAVANEH ALIZADEH and PARVA                       No. 2:24-mc-0150 DAD DB
      PROPERTY MANAGEMENT LLC,
12

13                       Plaintiffs,                    ORDER
14           v.
15    BANK OF AMERICA and UNITED
      STATES OF AMERICA, et al.,
16

17                       Defendants,
18

19          On April 2, 2024, plaintiffs, proceeding through counsel, filed a motion to quash pursuant

20   to 26 U.S.C. § 7609. (ECF No. 1-1.) The motion is noticed for hearing before the undersigned

21   on June 14, 2024, pursuant to Local Rule 302(c)(10). On May 20, 2024, defendant United States

22   of America filed a motion to summarily deny plaintiffs’ motion to quash, and noticed it for

23   hearing before the undersigned on June 28, 2024. (ECF No. 4.) Pursuant to Local Rule 230(c)

24   plaintiffs were to file an opposition or a statement of non-opposition to defendants’ motion not

25   less “than fourteen (14) days after the motion was filed.” Plaintiffs, however, have failed to file a

26   timely opposition or statement of non-opposition to the motion.

27          The failure of a party to comply with the Local Rules or any order of the court “may be

28   grounds for imposition by the Court of any and all sanctions authorized by statute or Rule or
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 1   within the inherent power of the Court.” Local Rule 110. Failure to comply with applicable rules
 2   and law may be grounds for dismissal or any other sanction appropriate under the Local Rules.
 3   Id.
 4            In the interests of justice, the court will provide plaintiffs with an opportunity to show
 5   good cause for plaintiffs’ conduct along with a final opportunity to oppose defendant’s motion.
 6   Moreover, it appears that this may not be the first-time plaintiffs have brought a similar motion.
 7   See Alizadeh v. CitiBank USA N.A., No. 2:24-mc-0043 DAD AC, 2024 WL 1722419, at *2
 8   (E.D. Cal. Apr. 19, 2024) (“Because Ms. Alizadeh and PPM were not entitled to notice, they
 9   cannot bring a proceeding to quash the summons under section 7609(b)(2).”); Alizadeh v. MUFG
10   Union Bank N.A., No. 2:23-mc-0122 DAD AC, 2023 WL 3721104, at *2 (E.D. Cal. May 30,
11   2023) (“Because it is indisputable that Mr. Alizadeh is an assessed taxpayer, and that assessed
12   taxpayers lack standing to challenge a summons related to collection, it is clear that plaintiff lacks
13   standing to bring this motion to quash.”). Plaintiffs’ counsel shall address any prior motions
14   brought by plaintiffs raising similar arguments as those raised here.
15            Accordingly, IT IS HEREBY ORDERED that:
16            1. Plaintiffs show cause in writing within fourteen days of the date of this order as to why
17   this case should not be dismissed for lack of prosecution;
18            2. The June 14, 2024 hearing of plaintiffs’ motion to quash (ECF No. 1) is continued to
19   Friday, June 28, 2024, at 10:00 a.m., at the United States District Court, 501 I Street,
20   Sacramento, California, in Courtroom No. 27, before the undersigned;
21            3. On or before June 14, 2024, plaintiffs shall file an opposition or statement of non-
22   opposition to defendant’s motion 1; and
23            4. Plaintiffs are cautioned that the failure to timely comply with this order may result in
24   the recommendation that this case be dismissed.
25   DATED: June 7, 2024                             /s/ DEBORAH BARNES
                                                     UNITED STATES MAGISTRATE JUDGE
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27     Alternatively, if plaintiffs no longer wish to pursue this civil action, plaintiffs may comply with
     this order by filing a request for voluntary dismissal pursuant to Rule 41(a) of the Federal Rules
28   of Civil Procedure.
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